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                                   UNITED STATES BANKRUPTCY COURT                                          ~li0776
                                       DISTRICT OF CONNECTICUT
                                         HARTFORD DIVISION

•.     ... .. ~




                         Debtor(s).




                                 REPORT OF SMALL/UNCLAIMED DIVIDENDS


          The undersigned trustee reports:

                  The dividend(s) payable to the creditor(s) listed in Exhibit A hereto is (are) in an amount less than
                  that Specified in Bankruptcy Rule 3010.
                           (

                  More than ninety (90) days have passed since the final distribution. I have made a reasonable
                  effort to locate those creditors who did not cash their checks within 90 days or whose checks were
                  returned undeliverable. The dividend(s) payable to the creditor(s) listed in Exhibit A hereto
                  remain unclaimed.

         Pursuant to Bankruptcy Rule 3010 or 3011, as applicable, and 11 U.S.C. §347(a), the undersigned trustee
 remits herewith a check in the total amount shown on Exhibit A for deposit into the United States Treasury,
 pursuant to chapter 129 of title 28.


DATED:June 12, 2019




                                                                    Isl Roberta Napolitano, Trustee
                                                                    Roberta Napolitano, Trustee tr083 78
                                                                    Chapter 13 Standing Trustee
                                                                    (860) 278-9410 tele
                                                                    (860) 527-6185 fax
                                                                    e-mail: mapolitano@ch13m.com
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                                       EXHIBIT A

Case Name:   ROSA SUGDINIS
Case Number: 1820551

Creditor                                Claim      Distrib.       Small          Unclaimed
Name and Address                       Number      Amount        Dividend        Dividend
ROSA SUGDINIS                             899                                     $3,049.86
39 MALLARD DRIVE
AVON, CT 06001
